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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF KENTUCKY
                                 CENTRAL DIVISION
                                    FRANKFORT

    CIVIL ACTION NO. 3:07-83-KKC

    ANTHONY S. DICKEY,                                                          PLAINTIFF


    v.                                        ORDER


    PROTOCOL RECOVERY SERVICE, INC.                                           DEFENDANT

                                        *********

          The Court, having been advised by counsel that settlement has been reached on all

    matters in this case, ORDERS that this action be, and the same hereby is, DISMISSED

    WITH PREJUDICE, all pending motions are overruled as moot and the matter shall be

    STRICKEN from the ACTIVE DOCKET.

          The Pretrial Conference of November 17, 2008 and jury trial of February 9, 2009 are

    hereby SET ASIDE.

          Dated this 9th day of July, 2008.
